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                                             In The
                      United States District Court
            For the Northern District Of Illinois, Eastern Division
JOHN F. TAMBURO                              )
     Plaintiff                               )
                                             )
-against-                                    )
                                             )       Case Number: 10-CV-2748
NCO FINANCIAL SYSTEMS, INC.                  )       Judge Pallmeyer
     Defendant                               )       Magistrate Judge Schenkier

                    PLAINTIFF’S UNOPPOSED MOTION TO DISMISS

       NOW COMES your Plaintiff, appearing pro se to move this honorable court as follows:

1.     This case was commenced on May 25, 2010, and the Defendant was notified of the case.

2.     After negotiation, the parties have settled all claims in a confidential settlement

       agreement.

3.     Defendant does not oppose this motion.

       WHEREFORE, Your Plaintiff respectfully prays that this court dismiss this case with

prejudice and each party to bear its own costs pursuant to settlement.


       DATED: July 18, 2010:

/s/ John F. Tamburo____________________________
John F. Tamburo
Plaintiff
PO Box 1656
Frankfort IL 60423
815-464-5010




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